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                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


J.O.P., et al.,

         Plaintiffs,
                                                      Civil Action No.
    v.
                                                      8:19-CV-01944-SAG
U.S. Department of Homeland Security, et al.,

         Defendants.



                  PLAINTIFFS’ MOTION TO COMPEL DISCOVERY RELATED
                  TO DEFENDANTS’ VIOLATIONS OF THE COURT’S ORDERS

         Pursuant to the Court’s June 5, 2025 Order, ECF No. 293 (the “Order”), Plaintiffs

respectfully submit this Motion to Compel Discovery Related to Defendants’ Violations of the

Court’s Orders. Defendants served their responses to Plaintiffs’ expedited discovery requests on

Monday, June 23, 2025. As set forth in the attached Memorandum, Plaintiffs request that the

Court compel Defendants to (1) produce documents and responses to interrogatories on all efforts

to comply with this Court’s Order to facilitate Cristian’s return to the United States; (2) respond

to interrogatories seeking identification of all persons involved in review and approval of the

“status reports” filed with this Court; and (3) respond to an interrogatory to clarify a statement to

this Court in a “status report” regarding “persons” (plural) subject to the Court’s Order who are

detained in El Salvador.

         The Court previously ordered that “[w]ithin one week of receiving Defendants’ discovery

responses, Class Counsel may move for leave of Court to conduct up to two depositions.” ECF

No. 293 ¶ 6. For the reasons stated in the attached Memorandum, Plaintiffs also seek leave to take

the deposition of Mellissa Harper and of a Fed. R. Civ. P. 30(b)(6) designee on behalf of

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Defendants who is adequately prepared to provide full accounting of the government’s efforts, if

any, to comply with this Court’s orders.




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